                  Case 13-00920-JDP                              Doc 1         Filed 05/08/13 Entered 05/08/13 17:23:21                                                    Desc Main
                                                                               Document     Page 1 of 56
B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                                  District of Idaho                                                                                Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Bendawald, Ryan                                                                                              Bendawald, Amanda


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
                                                                                                               FKA Amanda King



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-7535                                                                                                  xxx-xx-3211
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  221 Jodi Avenue                                                                                             221 Jodi Avenue
  Nampa, ID                                                                                                   Nampa, ID
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         83651                                                                                         83651
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Canyon                                                                                                       Canyon
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
              Case 13-00920-JDP                     Doc 1       Filed 05/08/13 Entered 05/08/13 17:23:21                                          Desc Main
                                                                Document     Page 2 of 56
B1 (Official Form 1)(04/13)                                                                                                                                                Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Bendawald, Ryan
(This page must be completed and filed in every case)                                   Bendawald, Amanda
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                  Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                 Judge:

                                       Exhibit A                                                                               Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X /s/ Jonathan Lowell                                           May 8, 2013
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Jonathan Lowell 8681

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(04/13)                                                                                                                                             Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Bendawald, Ryan
(This page must be completed and filed in every case)                                       Bendawald, Amanda
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X /s/ Ryan Bendawald                                                                          Signature of Foreign Representative
     Signature of Debtor Ryan Bendawald

 X /s/ Amanda Bendawald                                                                        Printed Name of Foreign Representative
     Signature of Joint Debtor Amanda Bendawald
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     May 8, 2013
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X /s/ Jonathan Lowell                                                                         chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Jonathan Lowell 8681                                                                     debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Idaho Law Group, LLP
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      1006 W Sanetta Street
      Nampa, ID 83651                                                                          Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                       Email: kendra@idaholawgroup.com
      (208) 475-1676 Fax: (208) 899-4954
     Telephone Number
     May 8, 2013
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                       District of Idaho
           Ryan Bendawald
 In re     Amanda Bendawald                                                                 Case No.
                                                                              Debtor(s)     Chapter    7



                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have a
certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy of
any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed
through the agency no later than 14 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]

       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

            I certify under penalty of perjury that the information provided above is true and correct.

                                                   Signature of Debtor:          /s/ Ryan Bendawald
                                                                                 Ryan Bendawald
                                                   Date:         May 8, 2013




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                       District of Idaho
           Ryan Bendawald
 In re     Amanda Bendawald                                                                 Case No.
                                                                              Debtor(s)     Chapter    7



                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have a
certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy of
any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed
through the agency no later than 14 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]

       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

            I certify under penalty of perjury that the information provided above is true and correct.

                                                   Signature of Debtor:         /s/ Amanda Bendawald
                                                                                Amanda Bendawald
                                                   Date:         May 8, 2013




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                          District of Idaho
 In re          Ryan Bendawald,                                                                             Case No.
                Amanda Bendawald
                                                                                                     ,
                                                                                   Debtors                  Chapter                      7




                                                              SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF         ASSETS                 LIABILITIES                OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                          0.00


B - Personal Property                                     Yes             4                   408,767.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             1                                            25,983.00


E - Creditors Holding Unsecured                           Yes             1                                                 0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             13                                          127,964.60
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       3,919.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       4,372.67
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                26


                                                                    Total Assets              408,767.00


                                                                                      Total Liabilities               153,947.60




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                            District of Idaho
 In re           Ryan Bendawald,                                                                                     Case No.
                 Amanda Bendawald
                                                                                                          ,
                                                                                       Debtors                       Chapter               7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                   Amount

             Domestic Support Obligations (from Schedule E)                                                       0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                                  0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

             Student Loan Obligations (from Schedule F)                                                   91,417.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                  0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                  0.00

                                                                             TOTAL                        91,417.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                        3,919.00

             Average Expenses (from Schedule J, Line 18)                                                      4,372.67

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                         4,773.98


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                  1,507.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                  0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                         0.00

             4. Total from Schedule F                                                                                           127,964.60

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       129,471.60




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 In re         Ryan Bendawald,                                                                            Case No.
               Amanda Bendawald
                                                                                                 ,
                                                                                   Debtors
                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption




                      None




                                                                                                 Sub-Total >                  0.00         (Total of this page)

                                                                                                      Total >                 0.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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 In re         Ryan Bendawald,                                                                                   Case No.
               Amanda Bendawald
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                Bank of America Checking Account (ending in                       C                              0.00
      accounts, certificates of deposit, or               1048), balance is actually -$84.82
      shares in banks, savings and loan,
      thrift, building and loan, and                      Bank of America Savings Account (ending in                        C                              0.00
      homestead associations, or credit                   8825), balance $0.00
      unions, brokerage houses, or
      cooperatives.                                       Checking Account                                                  C                              3.00
                                                          Idaho Central Credit Union

                                                          Savings Account                                                   C                              0.00
                                                          Idaho Central Credit Union ($25--required to keep
                                                          account open, not available balance)

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Living room furniture                                             C                           500.00
      including audio, video, and
      computer equipment.                                 TV's                                                              C                           300.00

                                                          Bedroom Furniture                                                 C                           200.00

                                                          Computer and Printer                                              C                           100.00

                                                          Dining Room Set                                                   C                           100.00

                                                          Refrigerator                                                      C                           200.00

                                                          entertainment center, dining table, bed                           C                           500.00

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Men's clothing                                                    C                           300.00



                                                                                                                            Sub-Total >            2,203.00
                                                                                                                (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

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 In re         Ryan Bendawald,                                                                                   Case No.
               Amanda Bendawald
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption
                                                          Women's clothing                                                  C                           300.00

                                                          Children's clothing                                               C                           150.00

7.    Furs and jewelry.                                   Women's wedding ring                                              C                        1,500.00

                                                          Men's Wedding ring                                                C                            50.00

                                                          Women's ring                                                      C                           300.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    Life Insurance (term)                                             H                     185,000.00
      Name insurance company of each                      Ryan
      policy and itemize surrender or
      refund value of each.                               Life Insurance (term)                                             W                     185,000.00
                                                          Amanda

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    PERSI                                                             C                              0.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X




                                                                                                                            Sub-Total >        372,300.00
                                                                                                                (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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 In re         Ryan Bendawald,                                                                                   Case No.
               Amanda Bendawald
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2012 Honda Civic                                                  C                      16,103.00
    other vehicles and accessories.
                                                          2012 Kia Optima                                                   C                      18,161.00

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X


                                                                                                                            Sub-Total >          34,264.00
                                                                                                                (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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 In re         Ryan Bendawald,                                                                                   Case No.
               Amanda Bendawald
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                              Cat                                                                C                             0.00

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >                  0.00
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Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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  In re         Ryan Bendawald,                                                                                       Case No.
                Amanda Bendawald
                                                                                                          ,
                                                                                       Debtors
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                         Each Exemption                             Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking Account                                  Idaho Code § 11-207                                                                     75%                              3.00
Idaho Central Credit Union

Household Goods and Furnishings
Living room furniture                                                     Idaho Code § 11-605(1)(a)                                   500.00                           500.00

TV's                                                                      Idaho Code § 11-605(1)(a)                                   300.00                           300.00

Bedroom Furniture                                                         Idaho Code § 11-605(1)(a)                                   200.00                           200.00

Computer and Printer                                                      Idaho Code § 11-605(1)(a)                                   100.00                           100.00

Dining Room Set                                                           Idaho Code § 11-605(1)(a)                                   100.00                           100.00

Refrigerator                                                              Idaho Code § 11-605(1)(a)                                   200.00                           200.00

Wearing Apparel
Men's clothing                                                            Idaho Code § 11-605(1)(b)                                   300.00                           300.00

Women's clothing                                                          Idaho Code § 11-605(1)(b)                                   300.00                           300.00

Children's clothing                                                       Idaho Code § 11-605(1)(b)                                   150.00                           150.00

Furs and Jewelry
Women's wedding ring                                                      Idaho Code § 11-605(2)                                    1,500.00                         1,500.00

Men's Wedding ring                                                        Idaho Code § 11-605(2)                                        50.00                            50.00

Women's ring                                                              Idaho Code § 11-605(2)                                      141.65                           300.00

Interests in Insurance Policies
Life Insurance (term)                                                     Idaho Code §§ 41-1833(1), 41-1930                     185,000.00                       185,000.00
Ryan

Life Insurance (term)                                                     Idaho Code §§ 41-1833(1), 41-1930                     185,000.00                       185,000.00
Amanda

Automobiles, Trucks, Trailers, and Other Vehicles
2012 Honda Civic                                                          Idaho Code § 11-605(3)                                    7,000.00                       16,103.00

2012 Kia Optima                                                           Idaho Code § 11-605(3)                                    7,000.00                       18,161.00




                                                                                                          Total:                 387,843.90                       408,267.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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  In re         Ryan Bendawald,                                                                                            Case No.
                Amanda Bendawald
                                                                                                              ,
                                                                                             Debtors
                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                            I    Q   U                            PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                           SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. xxxxx0340                                           Opened 12/01/12 Last Active 3/01/13                         E
                                                                                                                            D

American Honda Finance                                          2012 Honda Civic
Po Box 168088
Irving, TX 75016
                                                            C

                                                                Value $                                16,103.00                          12,582.00                        0.00
Account No. xxxxxxxxxxxx5810                                    Opened 7/01/08 Last Active 5/14/12

Gecrb/ashley Furniture                                          entertainment center, dining table, bed
950 Forrer Blvd
Kettering, OH 45420
                                                            W

                                                                Value $                                  500.00                            2,007.00                  1,507.00
Account No. xxxxxx4720                                          Opened 2/01/12 Last Active 2/14/13

Kia Motors Finance                                              2012 Kia Optima
10550 Talbert Avenue
Founatin Valley, CA 92708
                                                            H

                                                                Value $                                18,161.00                          11,234.00                        0.00
Account No. xxxxxx1244                                          Opened 10/01/07 Last Active 6/06/12

Weisfield/Sterling Jewelers                                     Women's ring
Attn: Bankruptcy
Po Box 3680
                                                            W
Akron, OH 44309

                                                                Value $                                  300.00                               160.00                       0.00
                                                                                                                    Subtotal
 0
_____ continuation sheets attached                                                                                                        25,983.00                  1,507.00
                                                                                                           (Total of this page)
                                                                                                                     Total                25,983.00                  1,507.00
                                                                                           (Report on Summary of Schedules)

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 In re         Ryan Bendawald,                                                                                                    Case No.
               Amanda Bendawald
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            0         continuation sheets attached
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  In re         Ryan Bendawald,                                                                                          Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxx8359                                                          Opened 8/01/05 Last Active 12/03/07                           T   T
                                                                                                                                                E
                                                                              Automobile                                                        D

American Honda Finance
Po Box 168088                                                             W
Irving, TX 75016

                                                                                                                                                                             0.00
Account No. xxxxx4218                                                         Opened 4/01/11 Last Active 12/14/12
                                                                              Lease
American Honda Finance
Po Box 168088                                                             C
Irving, TX 75016

                                                                                                                                                                             0.00
Account No. xxxxx0905                                                         Opened 5/01/08 Last Active 8/07/08
                                                                              Automobile
American Honda Finance
Po Box 168088                                                             C
Irving, TX 75016

                                                                                                                                                                             0.00
Account No. 1116                                                              Credit Card Purchases

Bank of America
PO Box 961206                                                             C
Fort Worth, TX 76161

                                                                                                                                                                       1,200.00

                                                                                                                                        Subtotal
 12 continuation sheets attached
_____                                                                                                                                                                  1,200.00
                                                                                                                              (Total of this page)




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  In re         Ryan Bendawald,                                                                                    Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxx6986                                                  Opened 6/01/05 Last Active 3/15/12                      E
                                                                              Credit Card                                             D

Bank Of America
Attention: Recovery Department                                            W
4161 Peidmont Pkwy.
Greensboro, NC 27410
                                                                                                                                                          1,438.00
Account No. xxxxx4969                                                         Tires

Bridgestone
c/o Credit First N.A.                                                     C
PO Box 81344
Cleveland, OH 44188-0344
                                                                                                                                                          1,104.48
Account No. xxxx6874                                                          Opened 1/01/13
                                                                              Collection Attorney Hsbc Bank Nevada
Calvary Portfolio Services
Attention: Bankruptcy Department                                          H
500 Summit Lake Dr. Suite 400
Valhalla, NY 10595
                                                                                                                                                          1,201.00
Account No. xxxxxxxxxxxx0514                                                  Opened 7/26/04 Last Active 5/14/12
                                                                              Credit Card
Cap One
26525 N Riverwoods Blvd                                                   H
Mettawa, IL 60045

                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx3953                                                  Opened 12/01/08 Last Active 5/02/10
                                                                              Charge Account
Cap1/bstby
Po Box 30253                                                              W
Salt Lake City, UT 84130

                                                                                                                                                                0.00

           1
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          3,743.48
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Ryan Bendawald,                                                                                    Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxx4113                                                   Opened 9/01/03 Last Active 5/10/12                      E
                                                                              Charge Account                                          D

Cap1/levtz
Po Box 5253                                                               W
Carol Stream, IL 60197

                                                                                                                                                          1,323.00
Account No. xxxxxxxxxxxx0064                                                  Opened 11/01/03 Last Active 5/14/12
                                                                              Credit Card
Capital 1 Bank
Attn: Bankruptcy Dept.                                                    W
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                            480.00
Account No. xxxxxxxx0370                                                      Opened 6/01/08 Last Active 4/01/13
                                                                              Educational
Chase
3900 Westerre Pkwy Suite 301                                              C
Richmond, VA 23223

                                                                                                                                                        10,207.00
Account No. xxxxxxxxxxxx4183                                                  Opened 10/01/06 Last Active 5/14/12
                                                                              Credit Card
Chase
Po Box 15298                                                              W
Wilmington, DE 19850

                                                                                                                                                            889.00
Account No. xxxxxxxxxxxx8460                                                  Opened 7/01/01 Last Active 5/10/12
                                                                              Credit Card
Citi
CitiCard Credit Services/Centralized                                      W
Ban
Po Box 20363
Kansas City, MO 64195                                                                                                                                       988.00

           2
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        13,887.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Ryan Bendawald,                                                                                    Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxx6905                                                         Opened 11/01/01 Last Active 3/15/06                     E
                                                                              Charge Account                                          D

Comenity Bank/Abarcrormbie
Attention: Bankruptcy                                                     W
P.O. Box 182686
Columbus, OH 43218
                                                                                                                                                                0.00
Account No. xxxxx4969                                                         Opened 6/22/09 Last Active 5/14/12
                                                                              Charge Account
Credit First/CFNA
Bk13 Credit Operations                                                    W
Po Box 818011
Cleveland, OH 44181
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx9297                                                  Opened 7/01/05 Last Active 4/22/12
                                                                              Credit Card
Discover Fin Svcs Llc
Po Box 15316                                                              C
Wilmington, DE 19850

                                                                                                                                                          5,136.00
Account No. xxxxxxx8020                                                       Opened 11/01/09 Last Active 4/12/13
                                                                              Educational
Discover Financial Ser
Po Box 30954                                                              W
Salt Lake City, UT 84130

                                                                                                                                                          7,374.00
Account No. xxxxxxxxxx0505                                                    Opened 5/11/05 Last Active 8/17/05
                                                                              Automobile
Farmersmerch
10148 W Emerald St Ste 103                                                W
Boise, ID 83704

                                                                                                                                                                0.00

           3
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        12,510.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Ryan Bendawald,                                                                                    Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxxx0009                                                 Opened 8/28/12 Last Active 3/01/13                      E
                                                                              Educational                                             D

Fedloan
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                          7,000.00
Account No. xxxxxxxxxxxxx0005                                                 Opened 2/19/10 Last Active 3/01/13
                                                                              Educational
Fedloan
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                          6,000.00
Account No. xxxxxxxxxxxxx0007                                                 Opened 8/31/11 Last Active 3/01/13
                                                                              Educational
Fedloan
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                          6,000.00
Account No. xxxxxxxxxxxxx0006                                                 Opened 8/31/10 Last Active 3/01/13
                                                                              Educational
Fedloan
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                          6,000.00
Account No. xxxxxxxxxxxxx0008                                                 Opened 8/28/12 Last Active 3/01/13
                                                                              Educational
Fedloan
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                          5,500.00

           4
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        30,500.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Ryan Bendawald,                                                                                    Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
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Account No. xxxxxxxxxxxxx0004                                                 Opened 8/31/11 Last Active 3/01/13                      E
                                                                              Educational                                             D

Fedloan
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                          4,500.00
Account No. xxxxxxxxxxxxx0001                                                 Opened 2/19/10 Last Active 3/01/13
                                                                              Educational
Fedloan
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                          3,500.00
Account No. xxxxxxxxxxxxx0002                                                 Opened 8/31/10 Last Active 3/01/13
                                                                              Educational
Fedloan
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                          3,500.00
Account No. xxxxxxxxxxxxx0003                                                 Opened 1/11/11 Last Active 3/01/13
                                                                              Educational
Fedloan
Pob 69184                                                                 W
Harrisburg, PA 17106

                                                                                                                                                          1,000.00
Account No. xxxxxxxxxxxx4225                                                  Opened 12/01/02 Last Active 8/21/05
                                                                              Credit Card
First Premier Bank
601 S Minnesota Ave                                                       W
Sioux Falls, SD 57104

                                                                                                                                                                0.00

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Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        12,500.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Ryan Bendawald,                                                                                    Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx5110                                                          Opened 9/01/01 Last Active 7/01/04                      E
                                                                              Automobile                                              D

Ford Motor Credit Corporation
Ford Motor Credit                                                         C
Po Box 6275
Dearborn, MI 48121
                                                                                                                                                                0.00
Account No. xxx0086                                                           Opened 8/01/03 Last Active 5/25/05
                                                                              Automobile
Franklin Capital
47 West 200 South Suite 500                                               W
Salt Lake City, UT 84101

                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx6341                                                  Opened 6/19/09 Last Active 2/21/12
                                                                              Charge Account
Gemb/walmart
Attn: Bankruptcy                                                          W
Po Box 103104
Roswell, GA 30076
                                                                                                                                                                0.00
Account No. 4113                                                              Capital One, NA

HSBC
PO Box 2224                                                               C
Chesapeake, VA 23327

                                                                                                                                                          1,323.72
Account No. xxxxxxxxxxxx3516                                                  Opened 7/26/04 Last Active 11/12/10
                                                                              Credit Card
Hsbc Bank
Po Box 30253                                                              H
Salt Lake City, UT 84130

                                                                                                                                                                0.00

           6
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          1,323.72
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Ryan Bendawald,                                                                                    Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxx6511                                                  Opened 7/26/04 Last Active 3/12/08                      E
                                                                              Credit Card                                             D

Hsbc Bank
Po Box 30253                                                              H
Salt Lake City, UT 84130

                                                                                                                                                                0.00
Account No. xxxx5528                                                          Opened 6/01/07 Last Active 4/29/10
                                                                              Real Estate Mortgage
Idaho Housing Agency
Po Box 7899                                                               W
Boise, ID 83707

                                                                                                                                                                0.00
Account No. xxxxxxxxx0420                                                     Opened 7/01/01 Last Active 3/28/02
                                                                              Charge Account
Macys/fdsb
Attn: Bankruptcy                                                          W
Po Box 8053
Mason, OH 45040
                                                                                                                                                                0.00
Account No. xxxxxxxxx4020                                                     Opened 11/01/00 Last Active 5/21/01
                                                                              Charge Account
Mcydsnb
9111 Duke Blvd                                                            H
Mason, OH 45040

                                                                                                                                                                0.00
Account No. 6986                                                              Collection Account (FIA Card Services)

Northstar Location Services
Attn: Financial Services Dep                                              C
4285 Genesee St
Buffalo, NY 14225-1943
                                                                                                                                                          1,438.84

           7
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          1,438.84
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Ryan Bendawald,                                                                                    Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx-xxxx-xxxx-0514                                               Credit Card Purchases                                   E
                                                                                                                                      D

Orchard Bank
PO Box 60501                                                              C
City of Industry, CA 91716

                                                                                                                                                          1,184.69
Account No. xxxxxx7746                                                        Opened 12/01/05 Last Active 5/12/11
                                                                              Charge Account
Rc Willey Home Furnishings
Attn: Bankruptcy                                                          W
Po Box 65320
Salt Lake City, UT 84165
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx2965                                                  Opened 6/01/11 Last Active 12/05/11
                                                                              Educational
Sallie Mae
Po Box 9655                                                               C
Wilkes Barre, PA 18773

                                                                                                                                                        15,493.00
Account No. xxxxxxxxxxxx4648                                                  Opened 6/01/12 Last Active 4/11/13
                                                                              Educational
Sallie Mae
Po Box 9655                                                               C
Wilkes Barre, PA 18773

                                                                                                                                                        13,219.00
Account No. xxxxxxx1120                                                       Opened 7/01/10 Last Active 4/30/13
                                                                              Educational
Student Loan Corp
Po Box 30948                                                              W
Salt Lake City, UT 84130

                                                                                                                                                        19,705.00

           8
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        49,601.69
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Ryan Bendawald,                                                                                    Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxx9418                                                      01 Gold S Gym                                           E
                                                                                                                                      D

Swift Fnds
927 Deep Valley Dr                                                        H
Palos Verdes P, CA 90274

                                                                                                                                                            370.00
Account No. xxxxxx1953                                                        Opened 7/01/08 Last Active 4/05/11
                                                                              Lease
Toyota Motor Credit
Toyota Financial Services                                                 C
Po Box 8026
Cedar Rapids, IA 52408
                                                                                                                                                                0.00
Account No. 4183                                                              Collection Account (Chase bank USA)

United Recovery Systems
PO Box 722929                                                             C
Houston, TX 77272

                                                                                                                                                            889.87
Account No. xxxxxxxxxxx4311                                                   Opened 2/19/10 Last Active 1/11/13
                                                                              Educational
Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00
Account No. xxxxxxxxxxx4411                                                   Opened 8/31/10 Last Active 1/11/13
                                                                              Educational
Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00

           9
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          1,259.87
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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               Case 13-00920-JDP                       Doc 1        Filed 05/08/13 Entered 05/08/13 17:23:21                              Desc Main
                                                                   Document      Page 28 of 56
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Ryan Bendawald,                                                                                    Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxx4511                                                   Opened 8/31/11 Last Active 1/11/13                      E
                                                                              Educational                                             D

Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00
Account No. xxxxxxxxxxx6211                                                   Opened 8/28/12 Last Active 1/11/13
                                                                              Educational
Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00
Account No. xxxxxxxxxxx6111                                                   Opened 8/28/12 Last Active 1/11/13
                                                                              Educational
Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00
Account No. xxxxxxxxxxx3911                                                   Opened 2/19/10 Last Active 1/11/13
                                                                              Educational
Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00
Account No. xxxxxxxxxxx4011                                                   Opened 8/31/10 Last Active 1/11/13
                                                                              Educational
Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00

           10 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Ryan Bendawald,                                                                                    Case No.
                Amanda Bendawald
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
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Account No. xxxxxx2111                                                        Opened 2/19/10 Last Active 9/30/11                      E
                                                                              Educational                                             D

Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00
Account No. xxxxxxxxxxx4111                                                   Opened 1/11/11 Last Active 1/11/13
                                                                              Educational
Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00
Account No. xxxxxxxxxxx4211                                                   Opened 8/31/11 Last Active 1/11/13
                                                                              Educational
Us Dept Of Education
Attn: Borrowers Service Dept                                              W
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                0.00
Account No. xxxxx3550                                                         Opened 4/01/11 Last Active 3/12/12
                                                                              Automobile
Westmark Credit Union
815 E 1st St                                                              H
Idaho Falls, ID 83401

                                                                                                                                                                0.00
Account No. xxxxxxxx8113                                                      Opened 11/01/00 Last Active 12/01/04
                                                                              Automobile
Wfs Financial/Wachovia Dealer Srvs
Po Box 3569                                                               C
Rancho Cucamonga, CA 91729

                                                                                                                                                                0.00

           11 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                                0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Ryan Bendawald,                                                                                          Case No.
                Amanda Bendawald
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
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Account No. xxxxxxxx6119                                                      Opened 11/01/07 Last Active 4/19/11                            E
                                                                              Automobile                                                     D

Wfs Financial/Wachovia Dealer Srvs
Po Box 3569                                                               C
Rancho Cucamonga, CA 91729

                                                                                                                                                                       0.00
Account No.




Account No.




Account No.




Account No.




           12 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                                   Subtotal
                                                                                                                                                                       0.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)              127,964.60


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B6G (Official Form 6G) (12/07)


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 In re             Ryan Bendawald,                                                                             Case No.
                   Amanda Bendawald
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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 In re          Ryan Bendawald,                                                                         Case No.
                Amanda Bendawald
                                                                                              ,
                                                                              Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR

                 Cassie King                                                     Chase Student Loan Serv, LLC
                 3126 Oak Rd #210                                                384 Galleria Pkwy
                 Walnut Creek, CA 94597                                          Madison, MS 39110

                 Dani Keyer                                                      Sallie Mae (Two Loans)
                 16386 N. Franklin Blvd Apt C
                 Nampa, ID 83687

                 John & Kay Frerichs                                             Citi Bank
                 17358 Hoadley Road
                 Caldwell, ID 83607




      0
              continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)
           Ryan Bendawald
 In re     Amanda Bendawald                                                                            Case No.
                                                                        Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                 DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Daughter                                                    5

Employment:                                           DEBTOR                                                  SPOUSE
Occupation                         Police Officer                                           CNA/Nurse Apprentice
Name of Employer                   City of Caldwell                                         St. Luke's
How long employed                  4 years                                                  7 months
Address of Employer                110 S 5th Avenue                                         520 S. Eagle Road
                                   Caldwell, ID 83605                                       Meridian, ID 83642
INCOME: (Estimate of average or projected monthly income at time case filed)                               DEBTOR                      SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                          $     2,919.69             $      1,253.22
2. Estimate monthly overtime                                                                           $       793.87             $          0.00

3. SUBTOTAL                                                                                              $        3,713.56        $         1,253.22


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $            532.13      $           90.70
     b. Insurance                                                                                        $            108.10      $            0.00
     c. Union dues                                                                                       $              0.00      $            0.00
     d. Other (Specify):       Caldwell Police Association                                               $             31.98      $            0.00
                               PERSI                                                                     $            284.87      $            0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $            957.08      $           90.70

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $        2,756.48        $         1,162.52

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $              0.00      $            0.00
8. Income from real property                                                                             $              0.00      $            0.00
9. Interest and dividends                                                                                $              0.00      $            0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $              0.00      $            0.00
11. Social security or government assistance
(Specify):                                                                                               $              0.00      $            0.00
                                                                                                         $              0.00      $            0.00
12. Pension or retirement income                                                                         $              0.00      $            0.00
13. Other monthly income
(Specify):                                                                                               $              0.00      $            0.00
                                                                                                         $              0.00      $            0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $              0.00      $            0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $        2,756.48        $         1,162.52

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                         $              3,919.00
                                                                               (Report also on Summary of Schedules and, if applicable, on
                                                                               Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)
          Ryan Bendawald
 In re    Amanda Bendawald                                                                  Case No.
                                                                 Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average
monthly expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                      $                    0.00
 a. Are real estate taxes included?                           Yes               No X
 b. Is property insurance included?                           Yes               No X
2. Utilities:      a. Electricity and heating fuel                                                         $                  300.00
                   b. Water and sewer                                                                      $                   75.00
                   c. Telephone                                                                            $                    0.00
                   d. Other See Detailed Expense Attachment                                                $                  325.00
3. Home maintenance (repairs and upkeep)                                                                   $                  300.00
4. Food                                                                                                    $                  400.00
5. Clothing                                                                                                $                  200.00
6. Laundry and dry cleaning                                                                                $                  100.00
7. Medical and dental expenses                                                                             $                  100.00
8. Transportation (not including car payments)                                                             $                  500.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                  150.00
10. Charitable contributions                                                                               $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                              $                    0.00
                   b. Life                                                                                 $                   50.00
                   c. Health                                                                               $                    0.00
                   d. Auto                                                                                 $                  115.00
                   e. Other                                                                                $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                 $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                 $                    0.00
                   b. Other See Detailed Expense Attachment                                                $                1,101.00
14. Alimony, maintenance, and support paid to others                                                       $                    0.00
15. Payments for support of additional dependents not living at your home                                  $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $                    0.00
17. Other See Detailed Expense Attachment                                                                  $                  656.67

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules                        $                4,372.67
and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                       $                3,919.00
b. Average monthly expenses from Line 18 above                                                             $                4,372.67
c. Monthly net income (a. minus b.)                                                                        $                 -453.67
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B6J (Official Form 6J) (12/07)
          Ryan Bendawald
 In re    Amanda Bendawald                                                  Case No.
                                                         Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                            Detailed Expense Attachment
Other Utility Expenditures:
Cell Phone                                                                             $                200.00
Cable                                                                                  $                100.00
Internet                                                                               $                 25.00
Total Other Utility Expenditures                                                       $                325.00




Other Installment Payments:
Kia                                                                                    $                456.00
Honda                                                                                  $                393.00
Student Loans                                                                          $                252.00
Total Other Installment Payments                                                       $               1,101.00


Other Expenditures:
School Lunches                                                                         $                 15.00
School Registration                                                                    $                 25.00
School/After School Care                                                               $                500.00
School Expenses (Books, utensils)                                                      $                116.67
Total Other Expenditures                                                               $                656.67
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                          District of Idaho
            Ryan Bendawald
 In re      Amanda Bendawald                                                                              Case No.
                                                                                   Debtor(s)              Chapter    7



                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                        I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
               28      sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date May 8, 2013                                                      Signature   /s/ Ryan Bendawald
                                                                                   Ryan Bendawald
                                                                                   Debtor


 Date May 8, 2013                                                      Signature   /s/ Amanda Bendawald
                                                                                   Amanda Bendawald
                                                                                   Joint Debtor

   Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                    18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                          United States Bankruptcy Court
                                                                       District of Idaho
             Ryan Bendawald
 In re       Amanda Bendawald                                                                                Case No.
                                                                              Debtor(s)                      Chapter       7

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the
answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.


                                                                            DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is
"in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be
"in business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business
    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income
               for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                           SOURCE
                          $45,868.88                       2012: Husband City of Caldwell
                          $40,910.00                       2011: Husband City of Caldwell
                          $2,503.00                        2012: Wife St. Luke's Meridian




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B7 (Official Form 7) (04/13)
2
             2. Income other than from employment or operation of business
   None      State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
             during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
             for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        AMOUNT                             SOURCE
                        $6,483.00                          2013 YTD: Wife Student Loan (NNU)

             3. Payments to creditors
   None      Complete a. or b., as appropriate, and c.

             a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
             services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
             aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
             payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule
             under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13
             must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
             petition is not filed.)

NAME AND ADDRESS                                                       DATES OF                                                     AMOUNT STILL
    OF CREDITOR                                                        PAYMENTS                           AMOUNT PAID                  OWING
Honda Financial                                                        12/2012, 11/2012, 10/2012            $1,569.00                $23,874.08
PO Box 5025
San Ramon, CA 94583
Kia Motors Finance                                                     12/2012, 11/2012, 10/2012               $1,365.00              $17,282.40
PO Box 660891
Dallas, TX 75266

   None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
             immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
             transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
             account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
             budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
             transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                                                                               AMOUNT
                                                                       DATES OF                                 PAID OR
                                                                       PAYMENTS/                              VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                           TRANSFERS                             TRANSFERS                OWING

   None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit
             of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
       RELATIONSHIP TO DEBTOR                                          DATE OF PAYMENT                    AMOUNT PAID                 OWING
Cassie King                                                            09/2012                                $300.00                   $0.00
3126 Oak Rd #210
Walnut Creek, CA 94597
   Sister




  * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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             4. Suits and administrative proceedings, executions, garnishments and attachments
   None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing
             of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                               STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                  DISPOSITION
Discover Bank vs Amanda Bendawald                                      Debt              Third Judicial District; Canyon County        Pending
CV13-3822                                                              Reconciliation

   None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE              PROPERTY

             5. Repossessions, foreclosures and returns
   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
             12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
             the spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                   PROPERTY

             6. Assignments and receiverships
   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not
             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                              DATE OF
NAME AND ADDRESS OF ASSIGNEE                                  ASSIGNMENT                       TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                         DATE OF           DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                   ORDER                   PROPERTY

             7. Gifts
   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                           DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                      DATE OF GIFT          VALUE OF GIFT




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             8. Losses
   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                           DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                 DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy
   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year
             immediately preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                              AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYER IF OTHER                      OR DESCRIPTION AND VALUE
   OF PAYEE                                                                THAN DEBTOR                                   OF PROPERTY

             10. Other transfers
   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                             DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                            DATE                         AND VALUE RECEIVED
Unknown - Craigslist                                                   04/15/2012           Golf Clubs
                                                                                            $200
     None

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                      AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)          IN PROPERTY

             11. Closed financial accounts
   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
             must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is
             filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                 AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                        AND AMOUNT OF FINAL BALANCE                         OR CLOSING
Westmark Credit Union                                                  Savings Account                             10/2012
6034 Birch Lane                                                                                                    $25.00
Nampa, ID 83687




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             12. Safe deposit boxes
   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                     DESCRIPTION                  DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                     OF CONTENTS                   SURRENDER, IF ANY

             13. Setoffs
   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                AMOUNT OF SETOFF

             14. Property held for another person
   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                 LOCATION OF PROPERTY
Cassie King                                           Bank of America, Checking Account                 Bank of America
3126 Oak Rd #210                                      (ending in 6563), $1,627.15; Amanda is
Walnut Creek, CA 94597                                authorized signer
Cassie King                                           Bank of America, Money Market Account             Bank of America
3126 Oak Rd #210                                      (ending in 1102), $2,398.34; Amanda is
Walnut Creek, CA 94596                                authorized signer

             15. Prior address of debtor
   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                     DATES OF OCCUPANCY
4705 Autumn Leaf Ave                                                   Ryan Bendawald                                02/2010 - 02/2011
Caldwell, ID 83607                                                     Amanda Bendawald
6875 E Greens Drive                                                    Ryan Bendawald                                06/2007 - 02/2010
Nampa, iD 83687                                                        Amanda Bendawald

             16. Spouses and Former Spouses
   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
             Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding
             the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the
             debtor in the community property state.

NAME




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             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
             to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

             "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned
             or operated by the debtor, including, but not limited to, disposal sites.

             "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
             pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
             liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and,
             if known, the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION

             18 . Nature, location and name of business
   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning
             and ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation,
             partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within
             six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
             equity securities within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within
             six years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within
             six years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                              BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                       NATURE OF BUSINESS              ENDING DATES

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS




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    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements
   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                        DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
             books of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                 DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and
             records of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement
             was issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                              DATE ISSUED

             20. Inventories
   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                        DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                    (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders
   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                           PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                        NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                            OF STOCK OWNERSHIP




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             22 . Former partners, officers, directors and shareholders
   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                         DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                                   DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation
   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
             compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately
             preceding the commencement of this case.

NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                                     OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                        VALUE OF PROPERTY

             24. Tax Consolidation Group.
   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.
   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as
             an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                      TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                               ******

                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date May 8, 2013                                                       Signature   /s/ Ryan Bendawald
                                                                                   Ryan Bendawald
                                                                                   Debtor


Date May 8, 2013                                                       Signature   /s/ Amanda Bendawald
                                                                                   Amanda Bendawald
                                                                                   Joint Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8) (12/08)
                                                          United States Bankruptcy Court
                                                                         District of Idaho
            Ryan Bendawald
 In re      Amanda Bendawald                                                                              Case No.
                                                                                  Debtor(s)               Chapter     7


                              CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                  Describe Property Securing Debt:
 American Honda Finance                                                            2012 Honda Civic

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain Retain collateral and continue payments (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                  Describe Property Securing Debt:
 Gecrb/ashley Furniture                                                            entertainment center, dining table, bed

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt




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 Property No. 3

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Kia Motors Finance                                                                 2012 Kia Optima

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain Retain collateral and continue payments (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

 Property No. 4

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Weisfield/Sterling Jewelers                                                        Women's ring

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain Retain collateral and continue payments (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                           Describe Leased Property:                     Lease will be Assumed pursuant to 11
 -NONE-                                                                                                 U.S.C. § 365(p)(2):
                                                                                                           YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
and/or personal property subject to an unexpired lease.


 Date May 8, 2013                                                      Signature   /s/ Ryan Bendawald
                                                                                   Ryan Bendawald
                                                                                   Debtor


 Date May 8, 2013                                                      Signature   /s/ Amanda Bendawald
                                                                                   Amanda Bendawald
                                                                                   Joint Debtor


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B 201A (Form 201A) (11/12)



                                                 UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF IDAHO
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney
General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each
notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that
each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some
cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that
the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does,
the purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful
and malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $46
administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments


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Form B 201A, Notice to Consumer Debtor(s)                                                                                       Page 2

over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon
your income and other factors. The court must approve your plan before it can take effect.
          After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured
obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises
primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                          District of Idaho
           Ryan Bendawald
 In re     Amanda Bendawald                                                                                Case No.
                                                                                 Debtor(s)                 Chapter        7

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
       I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the
Bankruptcy Code.
Ryan Bendawald
Amanda Bendawald                                                                   X /s/ Ryan Bendawald                       May 8, 2013
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                      Date

Case No. (if known)                                                                X /s/ Amanda Bendawald                     May 8, 2013
                                                                                     Signature of Joint Debtor (if any)       Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given
the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                          United States Bankruptcy Court
                                                                          District of Idaho
           Ryan Bendawald
 In re     Amanda Bendawald                                                                   Case No.
                                                                                  Debtor(s)   Chapter     7




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: May 8, 2013                                                      /s/ Ryan Bendawald
                                                                       Ryan Bendawald
                                                                       Signature of Debtor

Date: May 8, 2013                                                      /s/ Amanda Bendawald
                                                                       Amanda Bendawald
                                                                       Signature of Debtor




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                        American Honda Finance
                        Po Box 168088
                        Irving, TX 75016



                        Bank of America
                        PO Box 961206
                        Fort Worth, TX 76161



                        Bank Of America
                        Attention: Recovery Department
                        4161 Peidmont Pkwy.
                        Greensboro, NC 27410



                        Bridgestone
                        c/o Credit First N.A.
                        PO Box 81344
                        Cleveland, OH 44188-0344



                        Calvary Portfolio Services
                        Attention: Bankruptcy Department
                        500 Summit Lake Dr. Suite 400
                        Valhalla, NY 10595



                        Cap One
                        26525 N Riverwoods Blvd
                        Mettawa, IL 60045



                        Cap1/bstby
                        Po Box 30253
                        Salt Lake City, UT 84130



                        Cap1/levtz
                        Po Box 5253
                        Carol Stream, IL 60197



                        Capital 1 Bank
                        Attn: Bankruptcy Dept.
                        Po Box 30285
                        Salt Lake City, UT 84130
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                    Cassie King
                    3126 Oak Rd #210
                    Walnut Creek, CA 94597



                    Chase
                    3900 Westerre Pkwy Suite 301
                    Richmond, VA 23223



                    Chase
                    Po Box 15298
                    Wilmington, DE 19850



                    Chase
                    Cardmember Service
                    PO Box 94014
                    Palatine, IL 60094-4014



                    Citi
                    CitiCard Credit Services/Centralized Ban
                    Po Box 20363
                    Kansas City, MO 64195



                    Comenity Bank/Abarcrormbie
                    Attention: Bankruptcy
                    P.O. Box 182686
                    Columbus, OH 43218



                    Credit First/CFNA
                    Bk13 Credit Operations
                    Po Box 818011
                    Cleveland, OH 44181



                    Dani Keyer
                    16386 N. Franklin Blvd Apt C
                    Nampa, ID 83687



                    Discover Fin Svcs Llc
                    Po Box 15316
                    Wilmington, DE 19850
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                    Discover Financial Ser
                    Po Box 30954
                    Salt Lake City, UT 84130



                    Farmersmerch
                    10148 W Emerald St Ste 103
                    Boise, ID 83704



                    Fedloan
                    Pob 69184
                    Harrisburg, PA 17106



                    First Premier Bank
                    601 S Minnesota Ave
                    Sioux Falls, SD 57104



                    Ford Motor Credit Corporation
                    Ford Motor Credit
                    Po Box 6275
                    Dearborn, MI 48121



                    Franklin Capital
                    47 West 200 South Suite 500
                    Salt Lake City, UT 84101



                    Gecrb/ashley Furniture
                    950 Forrer Blvd
                    Kettering, OH 45420



                    Gemb/walmart
                    Attn: Bankruptcy
                    Po Box 103104
                    Roswell, GA 30076



                    HSBC
                    PO Box 2224
                    Chesapeake, VA 23327
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                    Hsbc Bank
                    Po Box 30253
                    Salt Lake City, UT 84130



                    Idaho Housing Agency
                    Po Box 7899
                    Boise, ID 83707



                    John   Kay Frerichs
                    17358 Hoadley Road
                    Caldwell, ID 83607



                    Kia Motors Finance
                    10550 Talbert Avenue
                    Founatin Valley, CA 92708



                    LTD Financial Services
                    7322 Southwest Freeway,
                    Suite 1600
                    Houston, TX 77074



                    Macys/fdsb
                    Attn: Bankruptcy
                    Po Box 8053
                    Mason, OH 45040



                    Mcydsnb
                    9111 Duke Blvd
                    Mason, OH 45040



                    National Enterprise Systems
                    29125 Solon Road
                    Solon, OH 44139



                    NCC Business Services, Inc.
                    PO Box 24739
                    Jacksonville, FL 32241
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                    Northstar Location Services
                    Attn: Financial Services Dep
                    4285 Genesee St
                    Buffalo, NY 14225-1943



                    Orchard Bank
                    PO Box 60501
                    City of Industry, CA 91716



                    Rc Willey Home Furnishings
                    Attn: Bankruptcy
                    Po Box 65320
                    Salt Lake City, UT 84165



                    Sallie Mae
                    Po Box 9655
                    Wilkes Barre, PA 18773



                    Student Loan Corp
                    Po Box 30948
                    Salt Lake City, UT 84130



                    Swift Fnds
                    927 Deep Valley Dr
                    Palos Verdes P, CA 90274



                    Toyota Motor Credit
                    Toyota Financial Services
                    Po Box 8026
                    Cedar Rapids, IA 52408



                    United Recovery Systems
                    PO Box 722929
                    Houston, TX 77272



                    Us Dept Of Education
                    Attn: Borrowers Service Dept
                    Po Box 5609
                    Greenville, TX 75403
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                    Weisfield/Sterling Jewelers
                    Attn: Bankruptcy
                    Po Box 3680
                    Akron, OH 44309



                    Westmark Credit Union
                    815 E 1st St
                    Idaho Falls, ID 83401



                    Wfs Financial/Wachovia Dealer Srvs
                    Po Box 3569
                    Rancho Cucamonga, CA 91729
